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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TENNESSEE
                                    WESTERN DIVISION

     Mary Doe as next friend of John Doe 1,    )
     John Doe 2, and John and Jane Does 1-     )
     100,                                      )
                                               )             Case No. 2:22-cv-02657-JTF-tmp
                            Plaintiff,         )
                                               )
     v.                                        )
                                               )
     Varsity Brands, LLC; Varsity Spirit, LLC; )
     Varsity Brands Holding Company, Inc.;     )
     U.S. All Star Federation, Inc. d/b/a U.S. )
     All Star Federation; USA Federation for   )
     Sport Cheering d/b/a USA Cheer;           )
     Charlesbank Capital Partners, LP; Bain    )
     Capital, LP; Jeff Webb, individually;     )
     Gym Studio Ops, LLC d/b/a Premier         )
     Athletics; Susan Traylor; and Dominick    )
     Frizzell,                                 )
                                               )
                            Defendants.        )
                                               )

                             JOINT STATUS CONFERENCE UPDATE

           The Parties1 respectfully file this updated status conference per the Court’s request.

 The Parties state as follows:

                                     FACTUAL BACKGROUND

           The Plaintiffs and all Defendants other than Dominick Frizzell and U.S. All Star

 Federation, Inc. d/b/a U.S. All Star Federation (USASF) have reached an agreement to settle

 this matter. There are two plaintiffs in the case. One plaintiff is a minor. The settling

 Parties are waiting on structure information from the third party structure company and



 1
     Dominic Frizzell is not a signatory to this status update.
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 final guardianship approval of the parent for the minor plaintiff to finalize the settlement

 documents. The settling defendants and parents of the minor Plaintiff have been working

 cooperatively to complete the required documentation. Consummation of the settlement

 should result in dismissal with prejudice as to all Defendants other than Dominick

 Frizzell and USASF.

         If the Court prefers, the Parties are happy to provide a more detailed overview of

 the information associated with the settlement, the current status of selecting appropriate

 structures, as well as the status of the filings required to proceed with settlement

 approval.

         Date: April 1, 2024

         Respectfully submitted,

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                                     CERTIFICATE OF SERVICE

         I hereby certify that on this 1st day of April, 2024, I electronically filed the foregoing with

 the Clerk of Court by electronic means via the Court’s ECF filing system, which will provide notice

 of this filing to all counsel of record in this case.


                                                             s/ M. Kimberly Hodges
                                                             M. Kimberly Hodges (TN Bar No. 020809)

                                                             Counsel for Defendant Varsity Spirit, LLC




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